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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                  Plaintiffs,
                                              Case No. 1:25-cv-00596-ELH
            v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                  Defendants.



         DEFENDANTS’ MOTION FOR A STAY PENDING APPEAL AND
              MEMORANDUM IN SUPPORT OF THE MOTION
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                                         INTRODUCTION

        Defendants respectfully move for a stay of this Court’s Memorandum Opinion and Order,

as clarified, see ECF Nos. 48–52. For the reasons stated in Defendants’ Opposition to Plaintiffs’

Motion for Temporary Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay,

Defendants are likely to prevail on appeal. This Court lacks jurisdiction because Plaintiffs have

not alleged a concrete harm and because the data access decisions Plaintiffs challenge are not

reviewable under the Administrative Procedure Act. Moreover, on the merits, and assuming

jurisdiction, Defendants are likely to prevail on Plaintiffs’ claims that Defendants acted in violation

of the Privacy Act and arbitrarily and capriciously. The equities also weigh in favor of a stay.

Neither Plaintiffs nor their members will be harmed during the pendency of an appeal, and the

Court’s injunction intrudes on the basic operation of federal agencies and thwarts implementation

of a critical Presidential directive.

        Plaintiffs oppose this motion.

                                           ARGUMENT

           THE COURT SHOULD STAY ITS INJUNCTION PENDING APPEAL

        Defendants request a stay pending appeal of the Court’s injunction under Federal Rule of

Civil Procedure 62. In evaluating whether to grant a stay pending appeal, courts consider four

factors: (1) the movant’s likelihood of prevailing on the merits of the appeal, (2) whether the

movant will suffer irreparable harm absent a stay, (3) the harm that other parties will suffer if a

stay is granted, and (4) the public interest. See Hilton v. Braunskill, 481 U.S. 770, 776 (1987);

Long v. Robinson, 432 F.2d 977, 979 (4th Cir. 1970).

        For the reasons stated in Defendants’ Opposition to Plaintiffs’ Motion for Temporary

Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay, Defendants are likely to



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prevail on appeal. See Defs.’ Opp’n to Pls.’ Mot. for TRO, Prelim. Inj., and/or Stay, ECF No. 36

(“Defs.’ Opp’n”). First, Plaintiffs lack Article III standing because they fail to allege concrete

injury. Id. at 6–13; TransUnion LLC v. Ramirez, 594 U.S. 413, 417 (2021). Plaintiffs claim a

purely intangible form of injury—namely, they allege that the disclosure of their personal

information to DOGE team members at the agencies constitutes an invasion of privacy. That

injury is not concrete. Nor does the tort of intrusion upon seclusion have a “close relationship” to

Plaintiffs’ claimed injury. TransUnion, 594 U.S. at 417. Mere access to data housed by a

government agency by government employees is not an unwarranted intrusion in the home, or

otherwise into Plaintiffs’ members solitude or seclusion. See O’Leary v. TrustedID, Inc., 60 F.4th

240, 246 (4th Cir. 2023). Compare Gadelhak v. AT&T Servs., Inc., 950 F.3d 458, 462 (7th Cir.

2020) (Barrett, J.) (finding standing based on “irritating intrusions” caused by unwanted text

messages, which is “analogous to [the] type of “intrusive invasion of privacy” covered by the tort

of intrusion upon seclusion); Garey v. James S. Farrin, P.C., 35 F.4th 917, 919, 922 (4th Cir.

2022) (finding standing where defendants had obtained plaintiffs information to mail unsolicited

advertising materials to the plaintiffs’ homes). There is no intrusion at all into Plaintiffs’ members’

seclusion, much less one that would be “highly offensive” to a reasonable person. Restatement

(Second) of Torts § 652B.

       The Court also lacks jurisdiction because Plaintiffs do not challenge final agency action

reviewable under the APA. Defs.’ Opp’n. at 13–19. Plaintiffs sought, and have now received, an

injunction that manages the day-to-day operations of the defendant agencies. But the APA does

not provide oversight of the types of decisions such as which agency employees get access to

which data systems. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 899 (1990); Indep. Equip.

Dealers Ass’n v. EPA, 372 F.3d 420, 427 (D.C. Cir. 2004). And personnel decisions about which



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particular agency personnel have access to any particular agency data system is not “final” because

they are not decisions by which “rights and obligations have been determined” or from which

“legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997).

       On the merits, Plaintiffs fail to show any violation of the Privacy Act because the DOGE

team members of the Social Security Administration are employed (or effectively employed

through detail arrangements) by their respective agencies and have a “need to know” within the

meaning of 5 U.S.C. § 552a(b)(1). Defs.’ Opp’n. at 19–23. The Court’s contrary conclusion is

inconsistent with federal agency practice broadly and imposes obligations on agencies beyond

what the Privacy Act requires. Defendants are also likely to prevail on Plaintiffs’ claim that

Defendants acted arbitrarily and capriciously. It was not arbitrary and capricious for Defendants

to grant access to data systems to agency personnel engaged in implementing the President’s

Executive Order of “improv[ing] the quality and efficiency of government-wide software, network

infrastructure, and information technology (IT) systems.” 90 Fed. Reg. 8441, § 4. It is sufficient

and reasonable that members of the agency DOGE teams were employed by the relevant agency

and that Defendants, in their broad discretion to manage agency operations, found it appropriate

to grant access so that those employees could perform duties within the scope of their employment,

including detecting fraud, waste, and abuse in SSA programs.

       The remaining factors—irreparable harm, the balance of harms, and the public interest—

likewise favor the requested stay. In their motion for injunctive relief and reply brief in support

thereof, Plaintiffs repeatedly claim that the continued disclosure of the Plaintiffs’ members’

personal information within each agency is irreparable harm that money damages cannot rectify.

ECF Nos. 21-1, 39. But as other courts have found in cases addressing similar issues, that kind of

harm is not irreparable because the mere possibility of misuse of data is conjectural, and Plaintiffs



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fail to provide evidence that their information has been improperly made public. See Defs.’ Opp’n.

at 28–29 (citing similar cases denying injunctions based on lack of irreparable harm)

       By contrast, the preliminary injunction causes direct irreparable injuries to the government

and the public, whose interests “merge” in this context. See Nken v. Holder, 556 U.S. 418, 435

(2009). As described in the accompanying declaration of Acting Commissioner Leland Dudek,

the injunction harms the agency’s operations by halting ongoing efforts to detect and eliminate

fraud. See Declaration of Leland Dudek (appended). Preventing the SSA DOGE Team from

continuing their work, moreover, deprives the agency of valuable expertise and effectively stops

work on projects that could otherwise reduce improper payments to the tune of millions of dollars

per day. Id. ¶¶ 5–8.

       More broadly, the Court’s injunction impinges on the President’s broad authority over and

responsibility for directing agency employees. It is therefore “an improper intrusion by a federal

court into the workings of a coordinate branch of the Government.” Immigr. & Naturalization

Serv. v. Legalization Assistance Project of the L.A. Cty. Fed’n of Labor, 510 U.S. 1301, 1305–06

(1993) (O’Connor, J., in chambers). By instructing the government who can and cannot access

the Defendant agencies’ data systems, the Court curtails the Executive Branch’s core duty to

manage the day-to-day operations of its agencies. See City of New York v. United States Dep’t of

Def., 913 F.3d 423, 431 (4th Cir. 2019) (“This distinction between discrete acts, which are

reviewable, and programmatic challenges, which are not, is vital to the APA’s conception of the

separation of powers.”); see also Walmart Inc. v. U.S. Dep’t of Just., 517 F. Supp. 3d 637, 655

(E.D. Tex. 2021) (finding that challenges to agency action “must identify specific and discrete

governmental conduct, rather than launch a ‘broad programmatic attack’ on government's

operations.’”), aff’d, 21 F.4th 300 (5th Cir. 2021).



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                                         CONCLUSION

       For these reasons, and for the reasons stated in Defendants’ opposition to Plaintiffs’ Motion

for Temporary Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay, Defendants

ask the Court to stay its temporary restraining order pending resolution on appeal. Defendants

intend to seek relief from the Fourth Circuit later today.



Dated: March 26, 2025                         Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that on March 26, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                       /s/ Marianne F. Kies
                                                       MARIANNE F. KIES
